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                              U NITED STA TES D ISTR ICT CO U RT
                              SO UTH ERN D ISTRICT O F FLOR ID A

                              C ASE NO .13-20259-CR -ALTONA G A

    UN ITED STATES O F AM ERIC A



    R O DO LPH E JA AR ,

           Defendant.
                                                /

                                        PLEA A GR EEM ENT

           TheUnited StatesofAmerica('
                                     dthe Government'')and RODOLPHE JAAR (hereinaûer
    referredtoastheidefendanf')enterintothefollowingagreement:
           1. The defendantagrees to plead guilty to the lndictm ent,w hich charges the defendant

    withconspiringtodistributefive(5)kilogramsormoreofcocaine,knowingthatsuch substance
    would be unlawfully im ported into the U nited States,in violation ofTitle 21,United StatesCode,

    Section 963.

           2. Thedefendantisawarethatthesentencewillbeimposedby theCourtafterconsidering

    theFederalSentencing Guidelinesand Policy Statements(hereinafterd
                                                                    'Sentencing Guidelinesn).
    The defendantacknow ledges and understands thatthe Courtw illcom pute an advisory sentence

    underthe Sentencing Guidelinesand thattheapplicableguidelinesw illbe determ ined by the Court

    relying in parton the resultsofaPre-sentence Investigation by the Court'sprobation offk e,w hich

    investigation willcom m ence afterthe guilty plea has been entered. The defendantis also aware

    that,undercertain circum stances,the Courtm ay departfrom the advisory sentencing guideline

    range that ithas com puted,and m ay raise orlow er thatadvisory sentence under the Sentencing

    Guidelines. The defendantisfurtheraware and understandsthatthe Courtisrequired to consider
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    the advisory guideline range determ ined under the Sentencing G uidelines,but is notbound to

    im pose that sentence; the Court is perm itted to tailor the ultim ate sentence in light of other

    statutory concerns,and such sentencem ay be eitherm oresevere orlessseverethan the Sentencing

    Guidelines' advisory sentence.      Know ing these facts, the defendant understands and

    acknow ledges that the Courthas the authority to im pose any sentence w ithin and up to the

    statutorymaximum authorizedbylaw fortheoffensesidentisedinparagraphone(1)andthatthe
    defendantm ay notwithdraw the plea solely asa resultofthe sentence im posed.

               The defendant also understands and acknowledges that the Court m ust im pose a

    statutoryminimum term often(10)years,andmayimposeastatutoryterm ofincarcerationofup
    tolife,tobefollowedbyaterm ofsupervisedreleaseofatleastfsve(5)yearsanduptolife. ln
    addition to a term ofim prisonm entand supervised release,the Courtm ay im pose a fine ofup to

    $4,000,000.
           4. The defendantfurtherunderstands and acknow ledgesthat,in addition to any sentence

    imposed underparagraph three (3)ofthisagreement,a specialassessmentin the amountof
    $100.00 willbe imposed on the defendant. The defendantagreesthatany specialassessment
    im posed shallbe paid atthe tim e ofsentencing.

               The O ftsce of the United States A ttorney for the Southern District of Florida

    (hereinafterï'Offke'')reservestherightto inform theCourtandtheprobation officeofalIfacts
    pertinent to the sentencing process,including al1relevant inform ation concem ing the offenses

    com m itted,whether charged or not, as w ell as concerning the defendant and the defendant's

    background. Subjectonlytotheexpresstermsofanyagreed-uponsentencingrecommendations
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    contained in thisagreem ent,this Office furtherreservestherightto m ake any recom m endation as

    to thequality and quantity ofpunishm ent.

           6. The defendant is aware thatthe sentence has notyetbeen determ ined by the Court.

    Thedefendantalso isaw arethatany estim ateoftheprobablesentencing range orsentencethatthe

    defendant m ay receive, whether that estim ate com es from the defendant's attorney, the

    governm ent,or the probation oftk e,is a prediction,not a prom ise, and is not binding on the

    governm ent, the probation office or the Court. The defendant understands further that any

    recom m endation thatthe govem m entm akesto the courtasto sentencing,whetherpursuantto this

    agreem ent or otherwise, is not binding on the Court and the Court m ay disregard the

    recom m endation in its entirety. The defendant understands and acknow ledges, as previously

    acknowledged in paragraphtwo(2)above,thatthedefendantmaynotwithdraw hisplea based
    upon the Court'sdecision notto accepta sentencing recom m endation m ade by the defendant,the

    government,or      recommendation madejointlybyboththedefendantandthegovernment.
           7. The United Statesagreesthatitw illrecom m end atsentencing thatthe Courtreduce by

    two (2) levelsthe sentencing guideline levelapplicable to the defendant's offense,pursuantto
    Section 3El.1(a)ofthe Sentencing Guidelines,based upon the defendant's recognition and
    affirm ative and tim ely acceptance of personalresponsibility.lf at the tim e of sentencing,the

    defendant's offense levelis determ ined to be 16 or greater,the governm entw illm ake a m otion

    requestinganadditionalone (1)leveldecrease pursuantto Section 3El.1(b)ofthe Sentencing
    Guidelines,stating thatthe defendanthasassisted authoritiesin the investigation orprosecution of

    his own m isconduct by tim ely notifying authorities of his intention to enter a plea of guilty,

    thereby perm itting the govem m entto avoid preparing fortrialand perm itting the governm entand
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    the Courtto allocate theirresourcesefficiently. The United Statesfurtheragreesto recom m end a

    sentence atthe Iow end ofthe applicable guideline range,ascalculated by the court. The United

    States, however, w ill not be required to m ake this m otion and these recomm endations if the

    defendant:(1)failsorrefusestomakeafull,accurateandcompletedisclosureto theprobation
    office ofthe circumstances surrounding the relevant offense conduct;(2) is found to have
    misrepresentedfactstothegovernmentpriortoenteringintothispleaagreement;or(3)commits
    any m isconductafterentering into thisplea agreem ent,including butnotlim ited to com m itting a

    state or federal offense, violating any term of release, or m aking false statements or

    m isrepresentationsto any governm entalentity oroffscial.

           8. This Office and the defendantagree that,although notbinding on the probation office

    or the Court,they willjointly recommend thatthe Courtmake the following Gndings and
    conclusionsasto the sentence to be im posed:

                        Ouantity of druas:That the quantity of controlled substance (cocaine)
    involvedintheoffense,forpurposeofSection2D1.1(a)and(c)oftheSentencingGuidelinesand
    isatleast15 kilogram s butIessthan 50 kilogram s.

                        AggravatinztM itigating role;ThatforpurposesofSections3B1.1and 3B1.2
    ofthe United StatesSentencing Guidelines,thedefendantshould receive a downward departure

    for his m inor role in the organization. As such,this Office and the defendant agree that the

    defendantshouldreceiveadownwarddepartureof3levelspursuanttoSection2D1.1(a)(5)(B)(ii).
           9. The defendantagreesthathe shallcooperate fully with thisOftsce by:




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           (a)providingtruthfuland completeinform ation and testim ony,and producing documents,
    recordsand otherevidence,w hen called upon by thisOffice,w hetherin interview s,before a grand

    jury,oratanytrialorothercourtproceeding;and
           (b) appearing at such grand jury proceedings, hearings,trials, and other judicial
    proceedings,and atm eetings,asm ay be required by thisOffice.

           10. This Office reserves the rightto evaluate the nature and extentofthe defendant's

    cooperation and to m ake the defendant's cooperation,or lack thereof,known to the courtatthe

    time ofsentencing. Ifin the sole and unreviewablejudgmentofthisOffice the defendant's
    cooperation isofsuch quality and significanceto the investigation orprosecution ofothercrim inal

    matters asto warrantthe court'sdownward reduction ofdefendant'ssentence,thisOftsce may

    m ake a m otion under 5K 1.1 ofthe United States Sentencing Guidelines atorbefore sentencing,

    and/or under Rule 35 of the Federal Rules of Crim inal Procedure subsequent to sentencing,

    reflecting thatthedefendanthasprovided substantialassistance and recom m ending a reduction in

    the applicable sentencing guideline range and/orrecom m ending thatthe defendant's sentence be

    reduced. The defendantacknow ledgesand agrees,how ever,thatnothing in thisAgreem entm ay

    beconstruedtorequirethisOfficetofileany suchmotionts)andthatthisOtxce'sassessmentof
    the nature,value,truthfulness,com pleteness,and accuracy ofthe defendant's cooperation shallbe

    bindinginsofarastheappropriatenessofthisOffice'stslingofanysuchmotionts)isconcerned.
                ThedefendantunderstandsandacknowledgesthattheCourtisunderno obligationto

    grantthe5K1.1orRule35motionts)referredto inparagraph 10,above,shouldthegovernment
    exercise its discretion to tlle any such motionts). The defendant also understands and
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    acknowledgesthatthecourtisundernoobligationtograntthe5K1.1orRule35motionts)and
    reduce the defendant's sentence because ofthe defendant'scooperation.

           12. The United States and the defendant agree that, although not binding on the

    probationoftsceorthecourt,theywilljointlyrecommendthat,pursuanttoSection5Cl.2ofthe
    Sentencing Guidelines, the court imposé a sentence within the sentencing guideline range

    withoutregard to anystatutorym inimum sentenceidentisedin paragraph3 above,providedthat:

           (a)defendantisnotfound to havemorethan one criminalhistory point,asdetermined
    underthe Sentencing Guidelines;

           (b)notlaterthanthetimeofthesentencinghearingthedefendantprovidestotheUnited
    States a written statem enttruthfully setting forth al1inform ation and evidence the defendanthas

    concem ing the offense oroftknses thatwere partofthe sam e course ofconductorofa com m on

    schem e orplan as charged in the indictm ent;and

           (c)thedefendantisnotfound to haveused violence orthreatsofviolence,orto have
    possessed a firearm orother dangerous weapon in connection with the offense;thatthe offense

    did notresultindeath orseriousbodilyinjurytoanyperson;andthatthedefendantisnotfound
    to have been an organizer,leader,m anagerorsupervisorofothers in the offense.

           13. The defendantagreesthatthe defendantshallassistthis Office in allproceedings,

    whetheradministrativeorjudicial,involvingtheforfeituretotheUnitedStatesofal1rights,title,
    and interest,regardlessoftheirnature orform ,in al1assets,including realand personalproperty,

    cash and otherm onetary instrum ents,w herever located,which the defendantor othersto his/her

    know ledge have accum ulated as a resultofillegalactivities. A dditionally, defendant agrees to

    identifyasbeingsubjecttoforfeitureallsuchassets,andtoassistinthetransferofsuchproperty
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    to the United States by delivery to this Office upon this Office's request, all necessary and

    appropriate docum entation w ith respectto said assets,including consentsto forfeiture,quitclaim

    deeds and any and all other documents necessary to deliver good and m arketable title to said

    property.Defendantknow ingly and voluntarily agreesto w aive any claim ordefensehe m ay have

    underthe Eighth A m endm entto the United States Constitution,including any claim ofexcessive

    fineorpenalty w ith respectto the forfeiture.
           l4. ThedefendantisawarethatTitle 18,United StatesCode,Section 3742 andTitle28,

    United StatesCode,Section 1291 afford the defendanttherightto appealthe sentence im posed in

    thiscase. Acknowledging this,in exchange fortheundertakingsm adeby theUnited States in this

    plea agreem ent,the defendanthereby waives allrights conferred by Sections 3742 and 1291 to

    appealany sentence imposed,including any restitution order,orto appealthe m annerin which the

    sentence was im posed,unless the sentence exceeds the m axim um perm itted by statute or is the

    resultofan upward departureand/oran upw ard variance from theadvisory guidelinerangethatthe

    Courtestablishesatsentencing. The defendantfurtherunderstandsthatnothing in thisagreement

    shallaffectthe governm ent's rightand/or duty to appealas set forth in Title 18,United States

    Code,Section 37424b)andTitle28,UnitedStatesCode,Section 1291. However,iftheUnited
    Statesappealsthedefendant'ssentencepursuanttoSections37424b)and 1291,thedefendantshall
    be released from the above waiverofappellate rights. By signing thisagreem ent,the defendant

    acknow ledgesthatthe defendanthasdiscussed the appealwaiver setforth in this agreem entw ith

    the defendant'sattorney. Thedefendantfurtheragrees,togetherw ith the United States,to request

    thatthe Courtenteraspecific finding thatthe defendant'swaiverofthe defendant'srightto appeal

    the sentence to be im posed in thiscase was know ing and voluntary.
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           15. Thedefendantrecognizesthatpleading guilty m ay have consequenceswith respectto

    thedefendant'simmigration status ifthedefendantisnota citizen ofthe United States. Under

    federallaw,a broad range ofcrimes are removable offenses,including the offense to which

    defendantispleadingguilty.Indeed,becausedefendantispleadingguiltytoacontrolledsubstance

    offense,rem ovalispresum ptively m andatory. Rem ovaland otherim m igration consequencesare

    thesubjectofaseparateproceeding,however,anddefendantunderstandsthatnoone,including
    the defendant's attorney or the Court, can predict to a certainty the effect of the defendant's

    conviction on the defendant's im m igration status. Defendant nevertheless afsrm s that the

    defendantwants to plead guilty regardless ofany im m igration consequencesthatthe defendant's

    plea m ay entail,even if the consequence isthe defendant's automatic rem oval from the United

    States.
              16. Thisisthe entire agreem entand understanding between the United States and the

    defendant. Thereareno otheragreements,promises,representations,orunderstandings.

                                                  W IFREDO A .FERRER
                                                  UN ITED STA TES A TTORNEY


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